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Exhibit B

 

 
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This letter isbeing submitted to clarify and correct statements that have buen made on behalf
of Susquelanma County by Attortey Reed in regard to the EEOC elalns hy Stoud and McNamara.
Attached you will find letters. addressing the three documents that we are aware of; Email from
Attorney Reed to Jennifer Ulsh, Pasitlon paper for Susquehanna County to the EEGE In regardlta Steud,
and Positlan paper for Susquehanna County in regard to MeNamare.

The first issue, is that Avtarney Reed has authored Position Papers on behalf of Susquehanna
County without providing drafts to Insure accuracy In the documents, ? belleva this Is ari issue of due
diligence, we should have verified the dacuments te ensure that the statements provided are accurate.
When | questioned this, the response | received was that Attorney Reed had copied aur HR Director.
Our HR Olrector has never recelved the letters, for did Attorney Reed follow up with the HR Director bo
determine if the documents were received or in fact, if they were accurate.

in reviewing allthe documents, ichas become very clear that Attorney Reed las supported all af

Commissioner Arnolds claims and remarks, Of course, thig is understandable because Altorncy Reed
spent 4x fongar with Gonimissianer Arnold, {¢ j¢ also my understanding that there were several phane
calls between Cormmissionar Arnold and Attorney Reed. This Is extremely disturbing to everyane ise
‘inveled at thé County, Some backgraund, wa vannot be positive, but we believe that Commissioner
Arnold made the decision to run for affies after her son applied for a position at the County and was not
hired. It was reported and verified throughout her canpalgn that she said that “change itt management
had te happen”, “they all hevete go”. You also need to understand that Commissioner Arnald has ro
formal education, no ouperience in Manegenent and ho government experience. When she came on
board we informed her that we heve.an 8:15 briefing meeting every morning with the Chief Clerk te
receive updates and to set directions on necessary items. Corammissioner Arnold In the last 18 months
has made maybe 20 briefings. Her response was “(don't have to come in and it’s too early for me,
followed by 1 don’t like the other Commissioner so 'mnot coming in’. Wher the County Solicitor, the
Chief Clerk, and the Commissioners explained the importance of coming In her response was “hl do
what want’. Commissioner Araold aligned herself with the less than hand full of employees, that ave
had personnal issues. These employees ware treated equal to all, but decided not te fallow the rules so
they were disciplined. This included gne employee that was an assessment officer and was
reprimanded for peeking in peaple’s windaws and trying te push doors open io gain access to the
house. Commissioner Arnold has always taking the position that we shauid not terminate people or
uefite them up, Her comments have always been that everyone needs a job and another chance. There
was an issue at the jail, we had just showed the training video supplied by CCAP on sexcal harassment £0
the correction officers. Ancofficer after watching the video placed his head Inte the breast ofa female
corrections officer, Commissioner Arnolds response was that we shouldn't fire him, maybe he didn’t
meat It and we ahoute give hin another chance. Of course, we hava a ZERO tolerarice policy. Over
many months Commissioner Arnold has undermined the operations by gaing eround Department heads
and meeting with employees, some ofwhich are Union employees. The Gourity has an organizational
chart and policies that support the chain of comnvand. [have written several letters to Commissioner
Arnold in regard to het undermining of the operations and violations of policies. | have had the County
Salictter and the Labor Attorney explain things ta her, and bath have given up. She said from the
heginning that she didn’t like the Chlef Clerk. or Deputy Chief Clerk, which was supported by her
comments ta the HR Diractor that she wanted them both fired. She refuses to talk to Stoud even
though he still reports-to the Cormissionars. Her actions are unprofessional and have ‘a negative effect

 

 
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en the operations ofthe County. She will not accept that if two Commissioners (which is the majarity)
agree to do something then it’s dona. She believes that she should stil be able to de what she wants,
Commilesioner Arnold tock information on a personnel issus and went to the employes and had
discussions with the employee cresting additional issues. Must recently she entered che voter
registration offioa afver hours by herself and signed her name in the official tally books. Her response
was that she tank an oath to do things right sa It was ok. She cannnt accept, nor will she accept that she
does anything wrong. Last October I tried to get her to step up by soaking her the chairman of the
Commissioners. That did not work, she couldn't run 6 meeting, and actually only came Into the
pourthouse 3 vines ina month in hall. in December, | was put back In as the Chairman, Commissionar
Arnold informs no one when she is coming or going and spends little time at the courthouse. She was
given the Tick Task Farce to heed up for the County, this Is the ovily thing that she knows well, However,
other groups are in existence because they do not like what she doas, When she dogs make tin and we
have te make a tough decision, she usually stalls or passes to fet canna else make the decision. All
decisians are emotional or personal, and when she doesn't gether way sie becomes confrontational
and angry, She has spant a year and @ half going @@ OCAP functlons telling everyone how bad it is in our
County and how mean everyene Isto her. Tet fs what she is bestat, playing the vietim, after all, she fs
in the local theater group: in addition, most employees ferl nervous and uneasy when she is arauns,

in reading Attomey Reads Position Papers, It appears we have taken something simple and
turmed it inte ernoney tnachine. First in regard to McNamara, | believe a statute of limitations applies to
herclaim, Also, there has never been any complaints from her until sha transferred, as well as her
willingness to accapt'é different position. No one forced her ta leave that position, and even
Commissioner Warren sald she would work with her to make it better, Pretty cut and diy, In regard to
Stoud, there was never any loss In income, and only increases. Respansihility may have changed, but still
at the level of Income. Also, he has been sskert on several oceasions to come back as the Chief Clerk
with an increase in pay, but has tumert that down. Again, pretty simple. ,

Attorney Reed also to complicate things, got invelved in the operations of the County by
authoring tue Commissioners to review Stoud end McNamara’s emails, after one Commissioner, the
Ceunty Solicicor, and the County's Labor Attorney ssi¢ AGI End result, anather employee terminated,
and a civil rights action filed against the County. if Attorney Reed stayed out of It, no oné would have
fost their job, and we wouldn't have another action against the Courity.

This summary is written with the support of Commissioners Hall and Warren and our County
Solicitor, and I'm sure if t asked the Lakor Attorney healso would agree. We are concerned over the
representation as well as the possibility of Insurance Bad Faith.

 

 

 
